IN THE UNITED STATES DISTRICT COURT =. og, }
FOR THE DISTRICT OF NEW MEXICO *

CHESTER MITCHELL, SHARON MITCHELL,

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MICHAEL MITCHELL, and G2PED Zot C3
Plaintiffs, .

v. NO. CV 03-0061 RLPLCS.

MIKE BRISENO, SHAWN SCOTT, JOHN DOE-1,
JOHN DOE-2, and JOHN DOE-3, in their individual
capacities,

Defendants.

FIRST AMENDED COMPLAINT FOR CIVIL RIGHTS
VIOLATIONS, TORT CLAIMS, AND DAMAGES

 

Plaintiff Chester Mitchell, Sharon Mitchell, and Michael Mitchell, by and through their
attorney, Joe M. Romero, Jr., brings this complaint for violations of their civil rights under the
Fourth and Fourteenth Amendments to the United States Constitution and 42 LLS.C. $1983, and for
torts under the New Mexico Tort Claims Act, and alleges as follows:

JURISDICTION AND VENUE

1. This Court has jurisdiction over this action pursuant to 42 U.S.C. $$ 1983 and 1988
and 28 U.S.C. § 1343, with pendent jurisdiction over the state uw claims. Venue ts proper in this
district as Defendants are residents of New Mexico and all of the acts complained of occurred in

New Mexico. Plaintiffs cause of action arose in New Mexico.

PARTIES
2. Plaintiffs Chester Mitchell, Sharon Mitchell. and Michael Mitchell are residents and
citizens of the state of New Mexico.
3. Defendant Mike Briseno was at all relevant times herein a law enforcement officer

emploved by the Bloomfield Police Department. a governmental ageney operated by the City of
Bloomfield. At all times relevant herein, Defendant Briseno was assigned or tasked to the Region TI
Narcotics Task Force.

4. Defendant Shawn Scott was at all relevant times herein a law enforcement ollicer
emploved by the Farmington Police Department. a governmental agency operated hy the City of
Farmington. At all times relevant herein. Defendant Scott was assigned or tasked to the Region I
Narcotics Task Force.

Ss. Detendants John Doe-1, John Doe-2. and John Doe-3 were at all relevant times herein
a law enforcement officer assigned or tasked to the Region IT Narcotics Task Foree.

6. At all times material to this Complaint. Defendants wereacting within the scope of
employment and under color of state Jaw. The individual Detendants are sued in his individual
capacity.

FACTUAL BACKGROUND

7. On or about 5:30 p.m. on October 4. 2000, Plaintiff Chester Mitchell was inside his
home eating supper with his daughter Sharon Mitchell. Also in the house was one of Plaintiff
Chester Mitchell's grandchildren, Michael Mitchell.

8. Plaintiffs heard banging on the front and rear door of the residence and then saw
Defendants, and other police officers. with guns drawn. enter the residence. At the time they entered
the residence. Defendants lacked consent, a warrant. probable cause, and / or exigent circumstances
to enter said residence.

9. Defendants, and other police officers, initially ordered Plaintiffs inside the residence
to lie on the floor and physically threw Plaintiffs to the floor. After initially throwing Plaintiff
Sharon Mitchell and Michael Mitchell on the floor side the house, Plainufts Sharon Mitchell and
Michael Mitchell were physically picked up and taken outside and ordered to lie on the ground

outside the house.

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10, After ordering individuals located in the house te lie on the floor. Defendants. and
other police officers, commenced to search the house. During their initial unwarranted search of the
house, Defendants allegedly discovered a small amount of cocaine en the kitchen floor where
Plaintifts had been eating prior to the police entering the house.

11. After the alleged discovery of the cocaine, Plaintiff Chester Mitchell. who was kept
inside the house by the Defendants, while not [ree to leave and without being advised of his right to
remain silent, Plaintiffs were interrogated regarding the ownership of the aJleged cocaine found on
the floor inside the residence and the identity of an individual who allegedly driven away from the
residence prior to or near the time that the police entered the property upon which the subject
residence was located.

}2, After the initial entry into his house and after the house had already been searched,
and while separated from his daughter and grandchildren, PlaintifT Chester Mitchell was cocreed and
induced into signing a consent to search form provided to him by Detendants.

13. After being unable to identify the persons located at or near his residence. as
demanded by Defendants. Defendants forcibly removed Plaintiffs Chester Mitchell and Michael
Mitchell from the residence and took him to the San Juan County Detention Center in Aztec.
Plaintiff Chester Mitchell was charged with the telony offense of possession of cocaine. and Plaintiff
Michael Mitchell was charged with an alleged parole violation warrant.

14. Upon review of the evidence in this case. the District Attorney's Office. Eleventh
Judicial District, dismissed the felony charge filed by Defendant avainst Plaintiff Chester Mitchell.

15. In pertinent part, the alleged justification for entering Plaintiff Chester Mitchell's
residence and subsequently arresting Plaintiff Chester Mitchell was an alleged cocaine transaction.
occurring prior to the arrival of police, between a confidential informant and an unknown “Mexican”

mute at or near Plaintilf Chester Mitchell's residerice. At nu time during the alleged “bus-bust™ or

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undercover transaction did said confidential informant implicate Plaintiff Chester Mitchell in said
transaction, nor did such transaction occur inside Plamtif? Chester Mitchell's residence.
COUNT I: UNLAWFUL DETENTION, ARREST AND/OR INTERROGATION
IN VIOLATION OF FOURTH AND FOURTEENTH AMENDMENTS AGAINST THE
INDIVIDUAL DEFENDANTS

16. Plaintiffs incorporates paragraphs | through 15 by reference as if set torth fully
hercin.

17. Defendants detained. arrested and/or interrogated Plaintiffs on October 4. 2000
without reasonable suspicion or probable cause to believe that Plaintiff had committed or was
committing a crime, and without a warrant or exigent circumstances.

18. = Defendants” actions in detaining, arresting. andror interrogating Plaintiffs and the
manner in which Defendants affected the detention, arrest. and interrogation. were objectively
unreasonable. and intentional, willful. wanton, obdurate. and in gross and reckless disregard of
Plaintiffs rights.

19, Defendants” unlawful detention. arrest, and/or interrogation of Plaintiffs proximately
caused Plaintiffs damages and injuries. These damages include physical pain and suffering. lost
liberty. and psychological and emotional distress.

WHEREFORE. Plaintiffs requests compensatory and punitive damaves against Defendants

together will all costs and attorneys’ fees.

COUNT II: CIVIL RIGHTS VIOLATION --EXCESSIVE USE OF FORCE EN
VIOLATION GF THE FOURTH AND FOURTEENTH AMENDMENTS
AGAINST THE INDIVIDUAL DEFENDANTS
20. “Plaintiffs incorporate paragraphs | through 19 by reference as if set forth fully herein.

21. The individual Defendants, and other law enforcement officers. used physical force in

seizing and detaining Plaintiffs on October 4. 2000, including but not limited to ordering them to the
 

floor at gunpoint, grabbing Plaintiffs and pushing them onto the Jloor. Defendants used physical
force without reasonable suspicion or probable cause to believe that Plaintiffs posed any physical
danger to anyone, and without giving Plaintiffs an opportunity to comply with their requests.

22. Defendants’ use of force was excessive and objectively unreasenable under the
circumstances.

23. Defendants” actions were intentional, willful, obdurate, and in gross and reckless
disregard of Plaintitfs' rights.

24. Defendants’ use of excessive foree proximately caused Plaintiffs damazes and
injurics, including physical injuries, physical pain and suttering. lost liberty. and psychological and
emotional distress of the type and nature that anvone would be expected to suffer under like
circumstances.

WHEREFORE, Plaintiffs requests compensatory and punitive damages against the
individual Defendants, tovether with all costs and attorneys” fees.

COUNT 1); UNREASONABLE SEARCH IN VIOLATION OF

FOURTH AND FOURTEENTH AMENDMENTS
AGAINST THE INDIVIDIAL DEFENDANTS

25. Plaintiffs incorporates paragraphs | through 24 by reference as if set forth fully
herein.
26. The Defendants and other law enforcement officers did not have probable cause to

believe that there was evidence of a crime inside the subject residence or on Plaintilfs* person. Nor
did Defendants have reason to believe that Plaintiffs were armed or dangerous.

27, Defendants did not possess consent to enter the house or search Plaintiffs person, nor
did they possess probable cause, a scarch warrant, or exigent circumstances to enter and/or search
Plaintiff's residence and their persons.

28. Defendants” entry Into Plaintiff Chester Mitchell's residence, and their seareh of

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Plaintiffs’ person, was objectively unreasonable. involuntary, and intentional, willful. wanton

obdurate, and in wross and reckless disregard of Plaintiffs” rights.
29, Defendants’ unlawful entry into Plaintiff Chester Mitchell's residence. and the seareh

of the Plaintiffs’ person caused Plaintiff? damages and injuries. These damages include pain and

suttenng. property damage, lost liberty, and psychological and emotional distress.
WHEREFORE, Plaintiff requests compensatory and punitive damages against the

individual Delendants. together with all costs and attorneys” fees.

JURY TRIAL DEMAND

30, Plaintiffs hereby demand a trial by jury on all counts so triable.

Respecttully submitted.

   
 

 

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